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          EXHIBIT A
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                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   11/10/2021
                                                                                                   CT Log Number 540566470
TO:         Maria Bustamante, Paralegal-Litigation
            United Airlines, Inc.
            609 MAIN STREET, 16TH FLOOR/HSCPZ
            HOUSTON, TX 77002-3167

RE:         Process Served in California

FOR:        United Airlines, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: JOHN R. SCHOLZ, III, an individual, and KEVIN E. BYBEE, an individual, on behalf
                                                 of themselves and others similarly situated // To: United Airlines, Inc.
DOCUMENT(S) SERVED:                              --
COURT/AGENCY:                                    None Specified
                                                 Case # 21CIV06029
NATURE OF ACTION:                                Employee Litigation
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                        By Process Server on 11/10/2021 at 01:29
JURISDICTION SERVED :                            California
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
REMARKS:                                         The document(s) received have been modified to reflect the name of the entity
                                                 being served.
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 11/11/2021, Expected Purge Date:
                                                 11/16/2021

                                                 Image SOP

                                                 Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                                 Email Notification, Maria Bustamante maria.bustamante@united.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 330 N BRAND BLVD
                                                 STE 700
                                                 GLENDALE, CA 91203
                                                 866-331-2303
                                                 CentralTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / NM
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    11/10/2021
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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / NM
                Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 4 of 45


                                                                     Wolters Kluwer

                             PROCESS SERVER DELIVERY DETAILS




Date:                          Wed, Nov 10, 2021

Server Name:                   DROP SERVICE




Entity Served                   UNITED AIRLINES INC

Case Number                     21CIV06029

J urisdiction                   CA




  1 1 11111111111111111111111111111111111111111 11111111111
                 Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 5 of 45


                                                                                                                                                   SUM-100

                                            SUMMONS                                                                          FOR coma USE ONLY
                                                                                                                         (SOLD NUM USD DE LA CORTI/

                                   (CITACION JUDICIAL)                                                                        Electronically

NOTICE TO DEFENDANT:
                                                                                                                                  FILED
                                                                                                               by 57uperi0r Court of California. County of an W ateo
(AVISO AL DEMANDADO):
                                                                                                              ON               11/5/2021
UNITED AIRLINES, INC., a Delaware corp., and DOES 1 through 10, inclusive
                                                                                                              By         151 Anthony Berini
YOU ARE BEING SUED BY PLAINTIFF:                                                                                                   Deputy tterk
(LO ESTA DEMANDANDO EL DEMANDANTE):
JOHN R. SCHOLZ. III, an individual, and KEVIN E. BYBEE, an individual, on behalf of themselves
and others similarly situated.
 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after tills summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (wvAv.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawheipcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.govisellhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory hen for waived tees and
 costa on any settlement or arbitration award of $10,000 or more in a civil ease. The court's lien must be paid before the court will dismiss the case.
 lAVISOl Lo hart demanded°. Si no respond° dentra de 30 dies, le corte puede decide en su contra sin escucharsu versiOn. Lea le InfommciOn a
 contlnuecidn.
    77ene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacidn y Impales 10gales pare presenter una respuesta par escitto en esta
 cone y hacer que se entregue una copia al demandante. Una carte o una Hamada telefonice no to protegen. Su respuesta pot escrito bone que ester
 en formates legal conecto al desea que procesen su caso en Is corte. Es posible que haya un formulario que usted puede user pare su respuesta.
 Puede encontrar estos formulanos de la Coffey mos infonnaciOn en el Centre de Ayuda de Ms Cafes de California (www.sucorte.ce.gov), en le
 blblioteca de Seyes de su condado o en la corte que le quede milts cerca. Si no puede pager la cuota de ptesentacion. pida al secreted° de la code quo
 So de un tonnulario de exencion de pogo de ctiotas. Si no presents su respuesta a(tempo, puede perder el caso potincumpluniento y la cone le pocini
 guitar su sueldo, diner° y bienes sin mos advertencia.
    Hay ofros requisitos legates. Es recomendable que name a un abogado Inmediatamente. Si no conoce a un abogado, puede Hamar a un servtio de
 remisien a abogados. SI no puede pager a un abogado,es posible que cumpla con los requisitos para °blew serviclos legates gratuitos de un
 programa de service's legates sin fines de lucro. Puede encontrar estos gtupos sin fines de Mao en el silks web de California Legal Services,
(www.lawhelpcafiromla.cuy), en at Centres de Ayuda de las Castes de California,(www.sucorte.ca.gov) o ponlendose en contact° con la code O el
 colegio de abogados locales. AVISO:Parley, la corte berm derecho a noclamar las cuotas y los costos exentos por importer un gravamen sabre
 cualquier recuperacian de $10,0006 mes de valor recibida mediante un acuerdo o una canoes/On de arbitraje en un Casa cle derecho civil. Tiene que
 pager el gravamen de Ls code antes de que la corm puede riesechar el caso.
The name and address of the court is:                                                                       CASE NUMBER:(Neimer° del Caso):
(El nombre y direociern de la corte es):                                                                                 21C1V06029
                                    SUPERIOR COURT OF SAN MATEO COUNTY
                                    400 COUNTY CENTER, REDWOOD CITY, CA 94063
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direccion y el reimero
de teldfono del abogado del demandante, a del demandante que no tiene abogado, es):
Jane C. Mariani, Law Office of Jane C. Mariani, 584 Castro St., #687, S.F., CA 94114 /(415)203-2453 / icm@marianiadvocacy.com
DATE:         11/5/2021                                                      Clerk. by                                                              , Deputy
(Fecha)                                     Neal I. Taniguchi                (Secretario)  /s/ Anthony                            Berini            (Adjunto)
(For proof ofservice of this Summons, use Proof of Service of Summons(form POS-010).)
(Para prueba de en/rage de este citation use el fonnulario Proof of Service of Summons,(POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
                                       1.   F-1 as an individual defendant.
                                       2. ni as the person sued under the fictitious name of (speci),):

                                       3.          on behalf of(specify):
                                            under: ED CCP 416.10(corporation)                               ni CCP 416.60(minor)
                                                    El CCP 416.20(defunct corporation)                              CCP 416.70 (conservatee)
                                                    ED CCP 416.40(association or partnership)               1 -1 CCP 416.90 (authorized person)
                                                                                                            -
                                                          other (specify):
                                       4.   -
                                            1 1    by personal delivery on (date):                                                                      Pao* 1 of 1,
  Form Adopted for Mandatory the                                                                                                Code of Cm Procedure gg 412 20, alla
  Judicial Council of Caidonie
                                                                       SUMMONS
                                                                                                                                                 www.courfa ca.gov
  SULI-100 (Rev. July 1.2009)
                 Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 6 of 45                                                                                        CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number,and address):
                                                                                                                                      FOR COURT USE ONLY
JANE C. MARIAN!,SBN 313666
Law Office of Jane C. Mariani                                                                                                            Electronically
       TELEPHONE NO.: (415)203-2453                    FAX NO.(Optional):                                                                     FILED
                                                                                                                       by Superior Court of California, County of San Mateo
      E-MAIL ADDRESS: icmftmarianiadvocacv.com
  ATTORNEY FOR (Narne): John R. Scholz. Ill and Kevin E. Bybee                                                         ON                11/5/2021
SUPERIOR COURT OF CAUFORN1A,COUNTY OF SAN MATEO                                                                        By           is/ Anthony Berini
                                                                                                                                             Deputy Cleric
MEET ADDRESS:        400 COUNTY CENTER
 MAILING ADDRESS: 400 COUNTY CENTER
cm AND ZIP CODE: REDWOOD CITY 04063
   BRANCH NAME:      SOUTHERN BRANCH
CASE NAME:
SCHOLZ ET AL V. UNITED AIRLINES, INC. AND DOES 1-10
      CIVIL CASE COVER SHEET                   Complex Case Designation             CASE P4UMBER1-CIV-06029
r i Unlimited          E1 Limited           ED Counter                   Joinder
      (Amount            (Amount
       demanded                            Filed with first appearance by defendant JUDGE:
                          demanded is
       exceeds $26,000)                       (Cal. Rules of Court, rule 3.402)      DEPT.:
                          $25,000 or less)
                            Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
  Auto Tort                                  Contract                                                      Provisionally Complex Civil Litigation
            Auto (22)                                   Ei       B• reach of contract/warranty(06)        (Cal. Rules of Court, rules 3.400-3.403)
   E-1 Uninsured motorist(46)                           1---1    Rule 3.740 collections (09)                     Antitrust/Trade regulation (03)
   Other PUPD/WD (Personal Injury/Property             I
                                                       - 1 Other collections(09)                                       Construction defect(10)
   Damage/Wrongful Death) Tort
                                                        ni Insurance coverage (18)                                     Mass tort(40)
   ED Asbestos(04)
                                                        ni       O• ther contract(37)                                  Securities litigation (28)
            P• roduct liability (24)                                                                            Environmental/Toxic tort(30)
                                                        Real Property
   ri M• edical malpractice (45)
                                                    ED Eminent domain/Inverse
                                                                                                                Insurance coverage claims arising from the
   El O• ther PI/POMO (23)                                                                                      above listed provisionally complex case
                                                         condemnation (14)
                                                                                                                types(41)
    Non-PUPDAVD (Other)Tort                               W• rongful eviction (33)                         Enforcement of Judgment
         Business tort/unfair business practice(07)     r-i   O• ther real property (26)                   rn Enforcement of judgment(20)
                      (08)                          Unlawful Detainer
                 h6ts)                                                                                     Miscellaneous Civil Complaint
             d giro
         Defamation(13)                                 r-i C• ommercial(31)
                                                                                                                       RICO (27)
            Fraud                                       I    1   Residential (32)
                                                                                                           1-7 O•        ther complaint (not specified above)(42)
                       property                                  Drugs (38)
                                                                                                           Miscellaneous Civil Petition
            Professional negligence (25)                 J udicial Review
                                                                                                          El Partnership and corporate governance (21)
    =1  1 Other
            tel r non-PI/PO
                    al    e/WDto9rt)
                               (1 (35)                  ni       A• sset forfeiture (05)
     Employment                                       •          P• etition re: arbitration award (11)     f       J   O• ther petition (not specified above)(43)
            Wrongful termination (36)                   Ti       Writ of mandate(02)
   ri O•      ther employment(15)                       rn       Other judicial review(39)
2. This case r l is         njis not        complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a. 1:::1 Large number of separately represented parties        d. rn Large number of witnesses
   b. ni Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c. ED Substantial amount of documentary evidence                         court
                                                                  f.        Substantial postjudgment judicial supervision
3. Remedies sought(check all that apply):a. I x I monetary b.             nonmonetary; declaratory or injunctive relief c. I—I punitive
4. Number of causes of action (specify): 3
5. This case ni is                 ni is not      a class action suit.
6. If there are any known related cases, file and serve a notice of related case.                                             m CM-015.)
Date: NOVEMBER 5, 2021
                    JANE C. MARANI
                           (TYPE OR PRINT NAME)                                                          (SIGNAT            Of. ARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding xcept small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case Is complex under rule 3.400 at seq. of the California Rules of Court. you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                         Page lot2
Form Adopted for Mandatory Use                                                                                              Cal. Rules of Court, rules 2.30. 3.220. 3.400-3.403.3.740.
  Judicial Council of California                            CIVIL CASE COVER SHEET                                                  Cal. Standards of Judicial Administration, std. 110
04-010 iftev.Saptember 1, 2021j                                                                                                                                      www.courfAca.gov
                              Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 7 of 45
                                                                                                                                        CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first Paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In item 1, you must,check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages,(2) punitive damages,(3) recovery of real property,(4)recovery of personal property, or(5)a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case Will be subject
to the requirements for service and obtaining a judgment in rule 3.740.•
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes In items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                    CASE TYPES AND EXAMPLES
Auto Tort                                         Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)—Personal Injury/Property                Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
       Damage/Wrongful Death                            Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
   Uninsured Motorist (46)(if the                           Contract (not unlawful detainer              Construction Defect (10)
       case involves an uninsured                              or wrongful eviction)                     Claims Involving Mass Tort(40)
        motorist claim subject to                       Contract/Warranty Breach—Seller
                                                            Plaintiff (not fraud or negligence)          Securities Litigation (28)
        arbitration, check this item                                                                      Environmental/Toxic Tort(30)
                                                        Negligent Breach of Contract/
        Instead of Auto)                                                                                  Insurance Coverage Claims
                                                            Warranty
Other PI/PDMID (Personal Injury/                        Other Breach of Contract/Warranty                    (arising from provisionally complex
Property Damage/Wrongful Death)                      Collections (e.g., money owed, open                      case type listed above)(41)
Tort                                                    book accounts)(09)                          Enforcement of Judgment
   Asbestos (04)                                        Collection Case—Seller Plaintiff
         Asbestos Property Damage                                                                         Enforcement of Judgment(20)
                                                        Other Promissory Note/Collections
         Asbestos Personal Injury/                                                                            Abstract of Judgment(Out of
                                                                Case :
              Wrongful Death                         Insurance Coverage (not provisionally                        County)
   Product Liability (not asbestos or                    complex)(18)                                         Confession of Judgment (non-
         toxic/environmental)(24)                        Auto Subrogation                                         domestic relations)
    Medical Malpractice (45)                             Other Coverage                                       Sister State Judgment
         Medical Malpractice-                        Other Contract (37)                                      Administrative Agency Award
              Physicians & Surgeons                      Contractual Fraud                                       (not unpaid taxes)
         Other Professional Health Care                  Other Contract Dispute                               Petition/Certification of Entry of
               Malpractice                         Real Property                                                   Judgment on Unpaid Taxes
    Other PI/PD/WD (23)                               Eminent Domain/Inverse                                  Other Enforcement of Judgment
         Premises Liability (e.g., slip                  Condemnation (14)                                         Case
               and fall)                              Wrongful Eviction (33)                         Miscellaneous Civil Complaint
         Intentional Bodily injury/PD/WD              Other Real Property (e.g., quiet title)(26)          RICO (27)
              (e.g., assault, vandalism)
                                                         Writ of Possession of Real Properly               Other Complaint (not specified
                                                         Mortgage Foreclosure                                 above)(42)
          Intentional Infliction of                      Quiet Title
               Emotional Distress                                                                              Declaratory Relief Only
                                                         Other Real Property (not eminent                      Injunctive Relief Only (non-
          Negligent Infliction of                        domain, landlord/tenant, or
               Emotional Distress                                                                                  harassment)
                                                         foreclosure)
          Other Pt/PD/WD                                                                                       Mechanics Lien
                                                   Unlawful Detainer
                                                                                                               Other Commercial Complaint
 Non-PI/PD/WD (Other)Tort                             Commercial (31)
    Business Tort/Unfair Business                                                                                  Case (non-tort/non-complex)
                                                      Residential (32)
                                                                                                               Other Civil Complaint
          Practice (07)                               Drugs (38)(if the case involves illegal                     (non-tort/non-complex)
    Civil Rights (e.g., discrimination,                   drugs, check this (tem; otherwise,
          false arrest)(not civil                                                                    Miscellaneous Civil Petition
                                                          report as Commercial or Residential)             Partnership and Corporate
          harassment)(08)                          Judicial Review
     Defamation (e.g., slander. libel)                                                                         Governance (21)
                                                      Asset Forfeiture (05)
         (13)                                                                                              Other Petition (not specified
                                                      Petition Re: Arbitration Award (11)
                                                                                                               above)(43)
     Fraud (16)                                       Writ of Mandate(02)
                                                                                                               Civil Harassment
     Intellectual Property (19)                           Writ-Administrative Mandamus
     Professional Negligence (25)                         Writ-Mandamus on Limited Court
                                                                                                                Workplace Violence
                                                                                                               Eider/Dependent Adult
          Legal Malpractice                                  Case Matter
                                                                                                                    Abuse
        Other Professional Malpractice                    Writ-Other Limited Court Case
                                                                                                                Election Contest
            (not medical or legal)                           Review
                                                                                                                Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                     Other Judicial Review (39)
                                                                                                                Petition for Relief frorn Late
  Employment                                               Review of Health Officer Order
                                                                                                                    Claim
      Wrongful Termination (36)                            Notice of Appeal-Labor
                                                             Commissioner Appeals                               Other Civil Petition
      Other Employment(15)
  CM-010(Rev. July 1. 20071                               CIVIL CASE COVER SHEET                                                            Pogo 2 of 2
   Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 8 of 45



             APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

              SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution
WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?

ADR can have a number of advantages over traditional court litigation.

• ADR can save time. Even in a complex case, a dispute can be resolved through
  ADR in a matter of months or weeks, while a lawsuit can take years.

• ADR can save money. By producing earlier settlements, ADR can save parties and
  courts money that might otherwise be spent on litigation costs (attorney's fees and
  court expenses).

• ADR provides more participation. Parties have more opportunity with ADR to
  express their own interests and concerns, while litigation focuses exclusively on the
  parties' legal rights and responsibilities.

• ADR provides more control and flexibility. Parties can choose the ADR process
  most appropriate for their particular situation and that will best serve their particular
  needs.

• ADR can reduce stress and provide greater satisfaction. ADR encourages
  cooperation and communication, while discouraging the adversarial atmosphere
  found in litigation. Surveys of disputants who have gone through ADR have found
  that satisfaction with ADR is generally high, especially among those with extensive
  ADR experience.

Arbitration, Mediation, and Neutral Evaluation

Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8"[Rev. Feb. 2014]
   Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 9 of 45



judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.
Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations. The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.

Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.

CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT
   • Upon filing a Complaint, the Plaintiff will receive this information sheet from the
     Superior Court Clerk. Plaintiff is expected to include this information sheet when
     he or she serves the Complaint on the Defendant.

   • All parties to the dispute may voluntarily agree to take the matter to an ADR
     process. A stipulation is provided here. Parties chose and contact their own ADR
     provider. A Panelist List is available online.

   •    If the parties have not agreed to use an ADR process, an initial Case
        Management Conference ("CMC") will be scheduled within 120 days of the filing
        of the Complaint. An original and copy of the Case Management Conference
        Statement must be completed and provided to the court clerk no later than
        15 days prior to the scheduled conference. The San Mateo County Superior
        Court Case Management Judges will strongly encourage all parties and their
        counsel to consider and utilize ADR procedures and/or to meet with the ADR
        director and staff where appropriate.

   • If the parties voluntarily agree to ADR, the parties will be required to sign and file
     a Stipulation and Order to ADR.

   • A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
     notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
     will be continued for further ADR/Case Management status review in 90 days. If
     the case is resolved through ADR, the status review date may be vacated if the
     court receives a dismissal or judgment. The court may upon review of case
     information suggest to parties an ADR referral to discuss matters related to case
     management, discovery and ADR.

   • Any ADR Services shall be paid for by the parties pursuant to a separate ADR
     fee agreement. The ADR Director may screen appropriate cases for financial aid
     where a party is indigent.
   • Local Court Rules require your cooperation in evaluating the ADR Project and
     will expect a brief evaluation form to be completed and submitted within 10 days
     of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourt.oro/adr. For more
information contact the Multi-Option ADR Project at(650)261-5075 or 261-5076.

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8"[Rev. Feb. 2014]
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                                                                                                            Print Form


                      SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN MATEO
                                 MULTI OPTION ADR PROJECT
                                         HALL OF JUSTICE AND RECORDS
                                             400 COUNTY CENTER
                                        REDWOOD CITY, CALIFORNIA 94063


                         ADR Stipulation and Evaluation Instructions
 In accordance with Local Rule 3.904(b), all parties going to ADR must complete a Stipulation and Order
 to ADR and file it with the Clerk of the Superior Court. In accordance with Local Rule 2.1.7, all parties,
 except for self-represented litigants, are required to file the Stipulation and Order to ADR electronically.

 There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
 the Clerk's Office. All stipulations must include the following:
                  O    Signatures for all attorneys(and/or parties in pro per);
                  O    The name and phone number of the neutral;
                  O    Date of the ADR session (date must include month, day and year. TBD or tentative
                       responses will not be accepted); and
                       Service List(Counsel need not serve the stipulation on parties).

Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy of the Court's Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the Court's website at www.sanmateocourt.org/adr.

Jf Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial Case Management Conference(CMC),parties must file a completed
stipulation at least 12 days before the scheduled Case Management Conference. The clerk will vacate the
Case Management Conference, and the general civil action will be referred to the ADR Analyst [Local
Rule 3.805(1)].

If Filing Stipulation Following a Case Management Conference or Following an Order to Vacate Case
Maanagement Conference and Order to ADR
When parties are referred to ADR at the CMC, or parties receive an Order Vacating Case Management
Conference and Order to ADR,they have 21 days from the date of the CMC or Order to file a Stipulation
and Order to ADR with the Court [Local Rule 3.904(b)].

 post-ADR Session
Submit post-ADR session evaluations within 10 days of completion of the ADR process. Evaluations are
to be filled out by both attorneys and clients. A copy of the Evaluation by Attorneys and Client Evaluation
will be mailed by the ADR department as the mediation session date approaches, or can be downloaded
from the Court's web site [Local Rule 3.905(c)].

If not all disputes are resolved through the ADR session, file a Statement of Nonagreement(ADR-CV-11)
with the Court to facilitate the setting ofa post-ADR Case Management and Trial Setting Conference before
the assigned Civil Judge [Local Rule 3.905(b)].

 Non-Binding Judicial Arbitrating
 Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
 Administrator will send a list of names to parties once a stipulation has been submitted.

 For further information regarding San Mateo Superior Court's Civil ADR and Judicial Arbitration
 Programs, visit the Court's website at www.sanmateocourt.org/adr or contact the ADR offices at
(650)261-5075.



 Form ADR-CV-1 [Rev. July 2021)
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 Attorney or Party without Attorney(Name, Address, Telephone, Fax,                     Court Use Only
 State Bar membership number):



 SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN MATEO
 Hall of Justice and Records
 400 County Center
 Redwood City, CA 94063-1655 (650)261-5100
 Plaintiff(s):                                                                         Case number:



 Defendant(s):                                                                         Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk's Office 10 days prior to or 3 weeks following the first
Case Management Conference or Order to ADR unless directed otherwise by the Court and ADR
Department [Local Rule 3.904(b)]. Please attach a Service List.

 The parties hereby stipulate that all claims in this action shall be submitted to (select one):
  0Voluntary Mediation                                           Binding Arbitration(private)
  0Neutral Evaluation                                            Settlement Conference(private)
  0Non-Binding Judicial Arbitration CCP 1141.12 Summary Jury Trial 0Other:

Case Type:
Neutral's name and telephone number:                                                      Date ofsession:
(Required for continuance of CMC except for non-binding judicial arbitration)
 Identify by name the parties to attend ADR session:

                                                                               Original Signatures


  Type or print name of 0Party without attorney 0Attorney for                                  (Signature)
  0Plaintiff/Petitioner El Defendant/Respondent/Contestant              Attorney or Party without attorney


  'Tpe or print name of 0Party without attorney 1:3 Attorney for                               (Signature)
  Dal Plaintiff/Petitioner 0Defendant/Respondent/Contestant             Attorney or Party without attorney



  Type or print name of 0Party without attorney 0Attorney for                                  (Signature)
  0Plaintiff/Petitioner 0Defendant/Respondent/Contestant                Attorney or Party without attorney



  'Rpe or print name of 0Party without attorney 0Attorney for                                  (Signature)
     PlaintifUPetitioner 0Defendant/Respondent/Contestant           .   Attorney or Party without attorney


IT IS SO ORDERED:
 Date:                                                       Judicial Officer of the Superior Court of San Mateo County


 Form ADR-CV-1 [Rev. July 20211
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                                                                                 Eletircgiba ly
                                                                   by Superior Court of California,County of San Mateo
   Jane C. Mariani, SBN 313666                                     ON             11/5/2021
   Law Office of Jane C. Mariani
2
   584 Castro Street, #687                                         By        Is/ Anthony Berini
                                                                                    Deputy Clerk
3 San Francisco, CA 94114
  jcm@marianiadvocacy.corn
4 (415)203-2453

5    Attorneyfor Plaintiffs
6

7

8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

9
                                        COUNTY OF SAN MATEO

10                                                     Case No.: 21C1V06029
II   JOHN R. SCHOLZ, Ill, an individual, and           CLASS ACTION
     KEVIN E. BYBEE,an individual, on behalf
12   of themselves and others similarly situated,      VERIFIED COMPLAINT FOR DAMAGES
13
                     Plaintiff,                        FOR:
14                                            1. Violation of Labor Code §§ 233 and 234;
     VS.
15
                                              2. Violation of Business and Professions Code
                                              §§ 17200 et seq (Unfair Business Practices);
16   UNITED AIRLINES, INC., a Delaware corp., 3. Declaratory Relief
     and DOES 1 through 10, inclusive
17                                            DEMAND FOR JURY TRIAL
                  Defendant.
18
                                              Unlimited Civil Case
19

20            Plaintiffs John R.Scholz, III ("Plaintiff Scholz")and Kevin E. Bybee("Plaintiff Bybee"),
21
     on behalf of themselves, and all others similarly situated, complain and allege as follows:
22
                                             INTRODUCTION
23
     I.       Plaintiffs Scholz and Bybee bring this class action for claims arising out ofthe sick leave
24

25   and attendance policies of United Airlines, Inc.("Defendant United"), on behalf of themselves

26   and all California citizens currently or formerly employed as Technicians and Other Related
27
     employees("Technicians") by Defendant United within the applicable statutory periods.
28



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                                                                            provide sick leave
1    2.     The California Labor Code ("Labor Code") requires employers who

     for employees to permit those employees to use the amount ofsick leave those employees would
2

3
     accrue over a 6-month period to care for specifically designated sick relatives. This is commonly
4
     referred to as "kin care" sick leave. The Labor Code provides sole discretion to the employee to
5

6    designate whether the use of accrued sick leave is for kin care sick leave or for personnel sick

7    leave. And, the Labor Code prohibits employers from counting sick leave as an absence or
8
     "occurrence" which could potentially lead to discipline for the employee.
9
     3.     The present action arises out of Defendant United's sick leave and attendance policies.
10
     Defendant United's sick leave policy auto-designates every use of sick leave as kin care sick
11

12   leave, even when it is not kin care sick leave, until kin care sick leave is exhausted. Defendant

13   United's attendance policies punish a Technician employee for using sick leave, in contravention
14
     of California law. These illicit and unlawful policies of Defendant United discriminate against
15
     Plaintiffs, and the Class, when applied in this manner. Moreover, Defendant United applies these
16
     policies only to its Technician employees and not all of its employees in California.
17

18   4.      During the relevant period, and continuing to the present, Defendant United illegally

19   ignored, and continues to ignore, Plaintiffs', and other similarly situated Class members', right to
20
     determine and designate the use of paid sick leave. And, despite multiple express requests by
21
     Plaintiffs to Defendant United to cease this practice, and to correct wrongly designated kin care
22
     sick leave to accurately reflect personal sick leave, Defendant United adamantly refused, and
23

24   continues to refuse, to do so. Moreover, Defendant United has disciplined Plaintiffs, and other

25   similarly situated Class members,for using paid sick leave.
26
     5.      As a result, Plaintiffs Scholz and Bybee bring this action seeking, among other relief, a
27
     declaration Defendant United's sick leave and attendance policies are unlawful under California
28

                                                    2

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                                                                                          and attendance
 1   law; an injunction prohibiting use of, and enforcement of, the unlawful sick leave
                                                                                                 law.
     policies; restitution; accountings; damages; and available penalties pursuant to California
2

3
     These issues are apparent based on Defendant United's maintained records, as well as statements
4
     made by Defendant United to Plaintiffs, and are amenable for adjudication on a collective basis.
5

6    6.     On November 5,2021, Plaintiffs gave written notice ofthe claims in Plaintiffs' complaint

7    to the California Labor and Workforce Development Agency ("LWDA")seeking intervention
8
     or, in the alternative, permission to proceed as representative "aggrieved employees" for and on
9
     behalf of all other aggrieved employees and the State of California in a representative capacity
10
     under the California Private Attorneys General Act of2004("PAGA"), California Labor Code §
11

12   2698 et seq. The statutory time for LWDA to respond has not yet expired.

13                                   JURISDICTION AND VENUE
14
     7.     Jurisdiction of this action is proper in the Superior Court of California under Article VI,
15
     §10 ofthe California Constitution because this action is a cause not given by statute to other trial
16
     courts. Additionally, the monetary damages, penalties and other amounts sought in this action
17

18   exceed the minimal jurisdictional limits of this Court.

19   8.      This Court has jurisdiction over Defendant United because Defendant United has
20
     sufficient minimum contacts with California and San Mateo County and because the claims in
21
     this action arise out of Defendant United's contacts with California and California law. Moreover,
22
     Defendant United's operation of its business activities out of multiple airports in California,
23

24   including San Francisco International Airport where Defendant United employs thousands of

25   Technician employees who reside in California, and Defendant United intentionally availing
26
     itself of the California market, render Defendant United subject to the jurisdiction of this Court
27
     in accordance with traditional notions offair play and substantial justice.
28

                                                    3

                                    CLASS ACTION VERIFIED COMPLAINT
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                                                                                              Procedure §§
 1   9.      Venue is proper in this judicial district pursuant to California Code of Civil

     395(a) and 395.5 because the acts complained of in this Complaint giving rise to Defendant
2

3
     United's liability, the violations of law, and the resultant injuries to Plaintiffs Scholz and Bybee,
4
     and other similarly situated Class members, occurred, at least in part, in San Mateo County,
5

6    where Defendant United also maintains offices, transacts business, and/or has an agent(s).

7                                                PARTIES
8
     10.     Plaintiff Scholz is a California citizen and a resident of Alameda County. Plaintiff Scholz
9
     has been employed by Defendant United at the San Francisco International Airport, located in
10
     unincorporated San Mateo County, as a Technician since 1998. Plaintiff Scholz is 57-years old
11

12   and a father oftwo. Plaintiff Scholz monitors and rations all paid sick leave days in order to have

13   paid sick leave days to provide the necessary and essential care for his family, particularly his
14
     elderly and ailing in-laws, as permitted under California law, and himself.
15
     I I.    Plaintiff Bybee is a California citizen and a resident of San Mateo County. Plaintiff
16
     Bybee has been employed by Defendant United, at the San Francisco International Airport,
17

18   located in unincorporated San Mateo County, as a Technician since 1989. Plaintiff Bybee,a 59-

19   years old father of two, is responsible for, and the primary caretaker for, his 88-years old mother
20
     who is handicapped and suffers from multiple chronic, debilitating medical conditions requiring
21
     medical attention. Plaintiff Bybee monitors and rations all paid sick leave in order to have paid
22
     sick leave days to provide the necessary and essential care for his ailing mother, as permitted
23

24   under California law. Plaintiff Bybee himself has medical conditions for which Plaintiff Bybee

25   takes sick leave.
26
     1 2.    On information and belief, Defendant United, is, and at all relevant times, was a Delaware
27
     corporation, with its principal place of business in Illinois, authorized to do business under the
28

                                                    4

                                    CLASS ACTION VERIFIED COMPLAINT
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                                                                                         as an air carrier,
 1   laws of the state of California and doing business within the state of California

     engaging in substantial business in at least nineteen airports in the state of California, including
2

3
     in the counties of San Mateo, Sacramento, San Francisco, and Los Angeles.
4
     13.    On information and belief, one of Defendant United's major hubs of business activity is
5

6    located at the San Francisco International Airport, located in unincorporated San Mateo County,

7    in the state of California, where Defendant United employs approximately 1,500 Technicians.
8
     On information and belief, Defendant United employs approximately 3,000 Technicians in total
9
     at the many other airport facilities from which Defendant United operates out of in California.
10
     14.     Defendant United is, and at all material and relevant times, was an employer,and Plaintiff
11

12   Scholz' and Bybee's employer, within the meaning of Labor Code §§ 233 and 234,subject to the

13   Labor Code.
14
     15.     Defendants named as Does 1 through 10, inclusive, are persons or entities whose true
15
     names and capacities, whether individual, corporate, or otherwise, are presently unknown to
16
     Plaintiffs Scholz and Bybee, who therefore sue said Doe defendants by fictitious name pursuant
17

18   to California Code of Civil Procedure § 474. Plaintiffs Scholz and Bybee are informed and

19   believe, and allege on that basis, each ofthe fictitiously named Doe Defendants perpetrated some
20
     or all of the unlawful and wrongful acts alleged herein; is responsible in some manner for the
21
     matters alleged herein; held executive positions with Defendant United and/or have acted on
22
     behalf of Defendant United by exercising decision making responsibility for and by establishing
23

24   unlawful and unfair sick leave and attendance policies for Defendant United; and is jointly and

25   severally liable to Plaintiffs Scholz and Bybee. Plaintiffs Scholz and Bybee will amend the
26
     Complaint to set forth the true names and capacities of Doe Defendants when such names are
27
     ascertained.
28

                                                    5

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 1                                    FACTUAL ALLEGATIONS
2
                           Alleeations Common to All Claims and Relief Sonata
3
     16.      Defendant United employs numerous Technician employees throughout California. At
4
     all times relevant and material, Defendant United conducted business and employed Plaintiffs,
5

6    and other similarly situated Technicians, in San Mateo County, and throughout California.

7    1 7.     At all times relevant and material, Plaintiffs, and other similarly situated Technicians,
8
     were non-exempt employees, covered by the California Labor Code; by Defendant United's
9
     policies and practices; and by other orders, regulations and statutes.
10
     18.      Defendant United's Technician employees, pursuant to collective bargaining agreement,
11

12   accrue limited paid sick leave. Specifically, Technicians accrue 8-hours of paid sick leave for

13   each month the employee is in a paid status or 96-hours annually, and can accumulate sick leave
14
     in a "sick bank" up to a maximum of 1,600-hours.
15
     19.       Absent application of California law, Defendant United's paid sick leave may only be
16
     used for the Technician employee's own sickness or non-occupational injury and/or for illness of
17

18   limited family members - a spouse or a dependent child. Defendant United's paid sick leave may

19   not be used for a parent or sibling. Defendant United's stated Technician sick leave policy also
20
     imposes an "occurrence" for disciplinary purposes on an employee for the third time an employee
21
     uses any paid sick leave to care for a spouse or dependent child in a 12-month period. There is
22
     no way to mitigate an "occurrence" or assignment of reductive attendance point(s).
23

24   20.       And, contrary to California law, Defendant United erroneously auto-designates all paid

25   sick leave as kin care sick leave regardless of whether the Technician is taking paid sick leave
26
     for personal sick leave or kin care sick leave. Defendant United does not auto-designate all sick
27
     leave as kin care sick leave for its other California employees, for example, its pilots.
28

                                                   6

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                                                                                            employees.
     21.    Defendant United maintains an attendance policy applicable to its Technician

     Defendant United unilaterally adopted the attendance policy after ratification of the collective
2

3
     bargaining agreement. The attendance policy is not, and was not,subsequently incorporated into
4
     the collective bargaining agreement by agreement or ratification nor does the attendance policy

6    refer to, reject, or waive California state labor laws.

7    22.    Under the original attendance policy, a Technician could be assigned a "point" for using
8 sick leave. A
                Technician who received a certain amount of points was subject to discipline up to
9
     and including termination. In 2017, Defendant United allegedly modified the sick leave policy
10
     by removing the assignment of a point for using accrued sick leave; however, Defendant United
II

12   continues to assign points to its Technician employees for using accrued sick leave.

13   23.    Plaintiffs are informed and believe, and allege on that basis, Defendant United utilizes
14
     the same sick leave and attendance policies in each airport facility in the state of California for
15
     its Technician employees and that Defendant United has acted knowingly,intentionally, and with
16
     deliberate indifference and conscious disregard to the rights of Plaintiffs, and other similarly
17

18   situated members ofthe Class, in committing the abuses set forth above.

19   24.     Moreover, Plaintiffs are informed and believe, and allege on that basis, Defendant United
20
     has engaged in systemic violations of the Labor Code and California Business and Professions
21
     Code by creating and maintaining policies, practices and customs that knowingly deny Plaintiffs,
27
     and other similarly situated members of the Class, certain employment rights and that all such
23

24   violations are ongoing.

25   25.     On November 5,2021, Plaintiffs Scholz and Bybee filed notice with the California Labor
26
     and Workforce Development Agency("LWDA"),sending a copy by certified mail to Defendant
27
     United, of the labor law violations set forth in this Complaint that Plaintiffs have suffered and,
28

                                                     7

                                     CLASS ACTION VERIFIED COMPLAINT
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                                                                                  event the LWDA
 1   on information and belief, other Technicians at United have suffered. In the

     declines to investigate or otherwise does not respond within the statutory period,Plaintiffs intend
2

3
     to investigate and amend this Complaint to seek penalties on behalf of all aggrieved employees
4
     who have been similarly harmed by the violations.
5

6              Individual Allegations of Plaintiff Scholz to All Claims and Relief Sought

7    26.    At the start ofthe calendar year 2021, Plaintiff Scholz had approximately 90 hours ofsick
8
     leave in his sick leave bank, which had accrued from his many years employed with Defendant
9
     United. According to Defendant United's sick leave policy, Plaintiff Scholz could expect to
10
     accrue an additional 96-hours of sick leave in 2021 or one sick day per month.
11

12   27.    In 2021, Plaintiff Scholz took personal sick leave due to a personal illness; however,

13   Defendant United auto-designated the sick leave as kin care sick leave to cover these absences
14
     without Plaintiff Scholz' authorization or permission. By February 23, 2021, Defendant United
15
     had illicitly exhausted all of Plaintiff Scholz' kin care sick leave for 2021 through the erroneous
16
     designations of personal sick leave as kin care sick leave.
17

18   28.     On September 8, 2021, following the use of available paid sick leave on September 3,

19   2021,Defendant United assigned a discipline "point" to PlaintiffScholz for using paid sick leave.
20
     29.     Based on past experiences, Plaintiff Scholz expects to have to take time offto care for his
21
     family, particularly his failing 85-years old father-in-law, in addition to time off Plaintiff Scholz
22
     may need to take off for his own personal illnesses.
23

24            Individual Allegations ofPlaintiff Bybee to All Claims and Relief Sought

25   30.     At the start of the calendar year 2021, Plaintiff Bybee had approximately 1,011 hours of
26
     sick leave in his sick leave bank, accrued from his many years with Defendant United. Plaintiff
27
     Bybee could expect to accrue a further 96-hours of sick leave in 2021 or one sick day per month.
28

                                                    8

                                    CLASS ACTION VERIFIED COMPLAINT
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                                                                                       to a personal
     31.    On April 14, 2021, Plaintiff Bybee took authorized personal sick leave due

     medical condition. This personal sick leave was for 60-days from April 14, 2021 through June
2

3
     13, 2021. Defendant United auto-designated this personal sick leave as kin care sick leave to
4
     cover Plaintiff Bybee's absences without Plaintiff Bybee's authorization or permission. By April
5

     19,2021, Defendant United had illicitly exhausted all of Plaintiff Bybee's kin care sick leave for

7    2021 through erroneously designating personal sick leave as kin care sick leave.

     32.    Upon his return from sick leave, Plaintiff Bybee submitted multiple requests to Defendant
9
     United to correctly designate those absences and use of his paid sick leave as personal sick leave
10
     rather than kin care sick leave; however, Defendant United refused to do so, stating the kin care
'
I

12   rules do not apply to Defendant United and it is only because of Defendant United's generosity

13   Plaintiff Bybee gets to use, and have absences designated, as kin care at all.
14
     33.    In addition to Defendant United's failure to correctly designate Plaintiff Bybee's sick
15
     leave, on June 13, 2021. Defendant United assigned a discipline "point" to Plaintiff Bybee for
16
     using his available paid sick leave for his medical condition.
17

18   34.    Based on past experiences, Plaintiff Bybee expects to have to take time off to care for his

19   mother in addition to the time off Plaintiff Bybee must take offfor his own medical conditions.
20
                                        CLASS ALLEGATIONS
21
     35.    Plaintiffs bring this action individually, and on behalf of all other similarly situated
22
     Technician employees of Defendant United, who are currently employed or were formerly
23

24   employed by Defendant United in California at any time during the Class Period. Plaintiffs'

25   claims are brought and may properly be maintained as a class action under California Code of
26
     Civil Procedure § 382 because there is a well-defined community of interest among the Class
27
     with respect to the claims asserted herein and the proposed Class is easily ascertainable.
28

                                                   9

                                    CLASS ACTION VERIFIED COMPLAINT
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                                                                                         and
     36.     Ascertainability and Numerosity. The members of the Class are ascertainable

     sufficiently numerous that joinder of all members is impracticable. On information and belief,
2

3
     the Class includes approximately 3,000 individuals employed by or formerly employed by
4
     Defendant United in California, including in San Mateo County,as Technicians at any time since
5

6    November 5,2017("Class Period"). The Class Period also includes unknown future employees

7    who will become employed as Technicians by Defendant United during the Class Period prior to
8 Class
        certification. The names and addresses of Class members are available from Defendant
9
     United and notice can be provided to the Class using common techniques and customary notice
10
     used in class action lawsuits of this nature. Joinder of all such current and former Technicians
11

12   individually would be impractical.

13   37.     Commonality. There are questions of law and fact common to the Class, including but
14
     not limited to whether Defendant United's sick leave and attendance policies violate the Labor
15
     Code; whether Defendant United's conduct constitutes an unlawful, unfair, or deceptive business
16
     act or practice; and what the appropriate remedies for Defendant United's conduct should be.
17

18   These questions predominate over individual questions.

19   38.     Typicality. The claims of Plaintiffs Scholz and Bybee are typical of the claims of the
20
     Class Plaintiffs seek to represent. As set forth herein, Defendant United's common course of
21
     conduct caused Plaintiffs, and other similarly situated Class members,the same or similar injuries
22
     and damages. Plaintiffs Scholz' and Bybee's claims are thereby representative ofand coextensive
23

24   with the claims ofthe Class.

25   39.      Adequacy. Plaintiffs Scholz and Bybee will fairly and adequately represent and protect
26
     the interests of the Class because Plaintiffs are a member of the class Plaintiffs seek to represent
27
     and because it is in Plaintiffs' best interests to prosecute the claims alleged herein to obtain
28

                                                    10

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                                                                                                    the Class
     declaratory relief, injunctive relief, restitution, damages, and other relief for violations

     has already suffered. Plaintiffs Scholz and Bybee will prosecute the case vigorously on behalf
2

3
     of the Class as demonstrated by having already devoted time and resources to initially
4
     investigating these claims. Neither Plaintiff Scholz or Plaintiff Bybee have known conflicts of
5

6    interest with the Class. And, Counsel for Plaintiffs has the requisite resources, experience, and

7    ability to prosecute this action as a class action.
8
     40.     Superiority of Class Action. A class action is superior to other available methods for the
9
     fair and efficient adjudication ofthis controversy. Specifically, because the damages suffered by
10
     certain individual members of the Class may be relatively small, the expense and burden of
11

12   individual litigation make it impracticable for Class members to pursue claims separately. Class

13   action treatment will permit all those similarly situated, as well as all parties and the judicial
14
     system, to litigate these claims efficiently and economically. Class action treatment will also
15
     avoid inconsistent outcomes because the same issues can be adjudicated in the same manner for
16
     all Class members. Moreover, because Defendant United has implemented an unlawful policy
17

18   generally applicable to the Class, issuing injunctive relief and declaratory relief with respect to

19   the Class as a whole makes class action treatment appropriate. For all these and other reasons, a
20
     class action is superior to other available methods for the fair and efficient adjudication of the
21
     controversy set forth in this complaint.
22
                                 FIRST CAUSE OF ACTION
23
       (Kin Care Violations Brought by Plaintiffs Against Defendant United and Does 1-10)
24                             (Cal. Lab. Code §§ 233 and 234)

25   41.      Plaintiffs incorporate all paragraphs above as if fully set forth herein.
26
     42.      Labor Code § 233(a) requires "[a]any employer who provides sick leave for employees
27
     shall permit an employee to use in any calendar year the employee's accrued and available sick
28

                                                     11

                                     CLASS ACTION VERIFIED COMPLAINT
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                                                                                 accrued during six
      leave entitlement, in an amount not less than the sick leave that would be

      months at the employee's then current rate of entitlement for the reasons specified in subdivision
2

3
     (a)of§ 246.5." Thus, Labor Code § 233 requires the employee be the party to designate the type
4
      of use — kin care or personal care — for which accrued, paid sick leave is being taken.
5

6     43.    Defendant United's practice and policy of auto-designating all paid sick leave as kin care

7     sick leave without permission or authorization violates Labor Code § 233.
8
      44.    Defendant United, by its erroneous designation, illicitly depletes available kin care, an
9
      action the legislature specifically sought to prevent in drafting the kin care law, and actively
10
      prevents the Technician employee, including Plaintiffs and the Class, from using accrued and
11

12    available paid sick leave as provided for by California law.

13    45.    Moreover, Defendant United's practice and policy of requiring Technician employees,
14
      including Plaintiffs and the Class, to use accrued and available paid sick leave as kin care sick
15
      leave when the paid sick leave is being taken for personal sick leave or when a Technician
16
      employee would not elect to use accrued and available paid sick leave as kin care sick leave even
17

18    if given the choice, denies the Technician, including Plaintiffs and the Class, the right to use

19    accrued and available paid sick leave for kin care sick leave for absences later in time to care for
20
      covered family members, additionally violating Labor Code § 233.
21
      46.    The anti-retaliation provisions of Labor Code § 233 protect the employee from retaliation
22
      for the employee's use of sick time for the employee's own needs. Labor Code § 233(c) forbids
23

24    any employer to "deny an employee the right to use sick leave or discharge, threaten to discharge,

25    demote, suspend, or in any manner discriminate against an employee for using, or attempting to
26
      exercise the right to use, sick leave to attend to an illness or the preventive care of a family
27
      member, or for any other reasons specified in subdivision (a)of§ 246.5."
28

                                                     12

                                     CLASS ACTION VERIFIED COMPLAINT
           Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 24 of 45




                                                                                                 the use
     47.     And, pursuant to Labor Code § 234,an employer absence control policy counting

     of sick leave as an absence that may lead to or result in discipline, discharge, demotion, or
2

3
     suspension is a per se violation of Labor Code § 233.
4
     48.     Together Labor Code §§ 233 and 234 provide if an employee has accrued and available
5

6    sick leave, and is using available accrued paid sick leave for a purpose as specified in the law, it

7    is not permissible for an employer to give the employee an "occurrence" for the absence under
8
     such an attendance policy because such action would constitute a form of discipline against the
9
     employee for using paid sick leave as allowed under the paid sick leave law.
10
     49.      Defendant United's practices and policies effectuate such a prohibited result because
11

12   Defendant United's attendance policy counts the use of paid sick leave as an absence that may

13   lead to discipline, which violates the Labor Code.
14
     50.      Defendant United's continuing violation of the laws pleaded herein will cause great and
15
     irreparable damage to Plaintiffs and the Class unless Defendant United is immediately restrained
16
     from committing further illegal acts.
17

18   51.      Plaintiffs Scholz and Bybee have no plain, speedy, or adequate remedy at law.

19                             SECOND CAUSE OF ACTION
   (Unfair Business Practices Brought by Plaintiffs Against Defendant United and Does 1-10)
20
                         (Cal. Bus. & Prof. Code §§ 17200 et seq.)
21
     52.      Plaintiffs incorporate all paragraphs above as if fully set forth herein.
22
     53.      Plaintiffs Scholz and Bybee assert this cause of action for unfair, unlawful, andJor
23

24   deceptive business practices and the following against Defendant United and Does 1-10, who are

25   all "persons" within the meaning of § 17201 ofthe California Business and Professions Code.
26
     54.      California Business and Professions Code §§ 17200 et seq.,("Unfair Competition Law"),
27
     prohibits any unlawful, unfair, fraudulent, or deceptive business act or practice.
28

                                                     13

                                     CLASS ACTION VERIFIED COMPLAINT
        Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 25 of 45




                                                                                          and Bybee
     55.    The acts, policies, and practices alleged in this action by Plaintiffs Scholz

     against Defendant United, and Does 1-10, are willful violations of California law, including but
2

3
     not limited to violation of Labor Code §§ 233 and 234, constituting unfair business practices as
4
     defined by §§ 17200 et seq. of the California Business and Professions Code.
5

6    56.    At all relevant times, Defendant United engaged in unlawful and unfair business practices

7    in violation ofthe Unfair Competition Law through common and systemic employment policies
8
     and practices including unilaterally auto-designating sick leave as kin care sick leave, interfering
9
     with sick leave,and disciplining employees for using paid sick leave as alleged in this Complaint,
10
     in violation of the Labor Code.
II

12   57.    By engaging in the above-described unfair business practices, Defendant United has

13   sought to avoid, and successfully avoided, obligations to meet minimum employee-protection
14
     standards established by the California legislature, thereby shifting the burden properly imposed
15
     on Defendant United onto Plaintiffs and the Class, as well as other law-abiding businesses.
16
     58.     Defendant United's business practices deprived Plaintiffs Scholz and Bybee, and other
17

18   similarly situated Class members, of employee protections and rights to which they are legally

19   entitled, which constitutes unlawful and unfair fraudulent business practices and provides an
20
     unfair advantage to Defendant United over its competitors who have been or are currently in
21
     honest compliance with applicable employment laws.
22
     59.     Furthermore, on information and belief, Plaintiffs Scholz and Bybee allege Defendant
23

24   United, by engaging in the aforementioned unfair, unlawful, and fraudulent business acts and

25   practices complained of above, obtains competitive advantage over law-abiding employers with
26
     which Defendant United competes and is unjustly enriched as a result ofsuch unlawful and unfair
27
     business practices.
28

                                                    14

                                    CLASS ACTION VERIFIED COMPLAINT
           Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 26 of 45




                                                                                       business practices
 1   60.     As a direct and proximate result ofthe unfair, unlawful, and fraudulent

     committed by Defendant United, by engaging in the aforementioned unfair and unlawful business
2

3
     practices, Defendant United has caused Plaintiffs and the Class to suffer injury and to lose money
4
     or property as a result ofsuch unfair and unlawful business practices.
5

6    61.     Defendant United, and all persons acting in concert with Defendant United, have engaged

7    in, are currently engaging in, and will continue to engage in the aforementioned unfair and
8
     unlawful acts and practices unless restrained or enjoined by this Court. The aforementioned
9
     unlawful acts and practices violate public policy and will cause great and irreparable harm to
10
     PlaintiffBybee and the Class,to Defendant United's competition, and to the general public unless
11

12   Defendant United is restrained from committing such further unfair and unlawful business acts

13   or practices.
14
     62.     Pursuant to California Business and Professions Code § 17203, Plaintiffs and the Class
15
     are entitled to seek injunctive relief prohibiting Defendant United's continuing unfair, unlawful,
16
     and deceptive business acts and practices alleged herein. Injunctive relief is necessary to prevent
17

18   Defendant United from continuing the unfair, unlawful, and deceptive business acts and practices

19   alleged herein. Moreover, Plaintiffs and the Class are entitled, pursuant to California Business
20
     and Professions Code §§ 17203 and 17208, to restitution for, among other things, any denied pay
21
     and/or benefits beginning four (4) years prior to filing this complaint to the present. Plaintiffs
22
     have no other adequate remedy at law.
23

24   63.      Plaintiffs were compelled to retain the services of counsel to file this court action to

25   protect their interests and those ofthe Class and to enforce important employment rights affecting
26
     the public interest. Plaintiffs have thereby incurred attorney fees and costs, which Plaintiffs are
27
     entitled to recover on all causes of action under California Code of Civil Procedure § 1021.5.
28

                                                   15

                                    CLASS ACTION VERIFIED COMPLAINT
        Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 27 of 45




1                                THIRD CAUSE OF ACTION
       (Declaratory Relief Brought by Plaintiffs Against Defendant United and Does 1-10)
2                           (Cal. Code of Civ. Proc.§§ 1060 et seq.)
3
     64.    Plaintiffs incorporate all paragraphs above as if fully set forth herein.
4
     65.    Plaintiffs Scholz and Bybee assert this cause of action for declaratory relief and the
5

6    following against Defendant United and Does I-10 in their official capacity as purported agents

     of Defendant United.
8
     66.    An actual controversy has arisen and now exists between Plaintiffs Scholz and Bybee and
9
     Defendant United concerning their respective rights, obligations, and duties. Plaintiffs Scholz
10
     and Bybee therefore seeks declaratory relief as set forth below.
11

12   67.    Defendant United auto-designates all sick leave as kin care sick leave contrary to the

13   dictates of Labor Code §§ 233 and 234.
14
     68.    Defendant United unequivocally and emphatically state Labor Code §§ 233 and 234 do
15
     not apply to Defendant United and, more importantly, Defendant United will not adhere to the
16
     dictates of Labor Code §§ 233 and 234.
17

18   69.    Defendant United counts sick leave as an "occurrence" potentially leading to discipline,

19   up to and including termination,for the Technician employee, including Plaintiffs and the Class.
20
     70.    Plaintiffs Scholz and Bybee contend Defendant United's designation of all sick leave
21
     absences as kin care sick leave absences, regardless of circumstances, violates Labor Code §§
22
     233 and 234.
23

24   71.    Plaintiffs Scholz and Bybee contend Labor Code §§ 233 and 234 apply to Defendant

25   United and Defendant United is required to adhere to the dictates ofthose Labor Code sections.
26
     72.    Plaintiffs Scholz and Bybee contend Defendant United's counting sick leave as an
27
     absence or "occurrence" which could potentially lead to discipline for a Technician employee,
28

                                                    16

                                    CLASS ACTION VERIFIED COMPLAINT
          Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 28 of 45




                                                                                     discriminates against
     up to and including termination, including Plaintiffs and the Class, unfairly
2
     Plaintiffs, and the Class, and therefore violates Labor Code §§ 233 and 234.
3
     73.     Declaratory relief pursuant to California Code of Civil Procedure § 1060 is necessary to
4
     resolve the controversies between Plaintiffs and Defendant United because the controversies are
5

6    incapable of resolution without judicial intervention and adjudication.

7                                                PRAYER
8
             WHEREFORE,Plaintiffs pray for judgment against Defendant United as follows:
9
     A.      Certification of this action as a class action on behalf ofthe proposed class;
10
     B.      Designation of Plaintiffs as Representatives of the Class and designation of Plaintiffs'
II

12   counsel as Class counsel;

13   C.      Declare Defendant United's paid sick leave practices and policies violate Labor Code §§
14
     233 and 234;
15
     D.      Declare Defendant United's attendance practices and policies violate Labor Code §§ 233
16
     and 234;
17

18   E.      Permanently enjoin Defendant United from applying its paid sick leave practices and

19   policies in a manner that violates Labor Code §§ 233 and 234;
20
     F.      Permanently enjoin Defendant United from applying its attendance practices and policies
21
     in a manner that violates Labor Code §§ 233 and 234;
22
     G.      Order an accounting of all paid sick leave designations, of all attendance policy point
23

24   designations, and of all resultant amounts unlawfully retained by Defendant and Does 1-10;

25   H.      Award restitution for unfairly and unlawfully auto-designating sick leave;
26
     1.      Award of all damages, monetary relief, wages, premiums, reimbursements, and other
27
     sums due to Plaintiffs and the Class by virtue of their claims;
28

                                                    17

                                    CLASS ACTION VERIFIED COMPLAINT
            Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 29 of 45




1    J.       Award attorney's fees, expenses, and costs, as permitted by law;
2
     K.       Order a jury trial on all issues triable to a jury as a matter of right; and
3
     L.       For such other and further relief as this Court deemsjust a d proper.
4
          Dated:     t/ /2-021                                Law 0 cc of Janbi.Mariani
5

6                                                             By:
                                                                                  . Mariani,
7                                                                          A orneyfor Plaintiffs
8
                                                 VERIFICATION
9
              I,John R. Scholz, III, declare I am an individual plaintiff in this action. I declare I have
10
     read the foregoing complaint and know its contents. I declare the complaint is true of my own
11

12   knowledge,except as to those matters which are therein stated on information and belief, and,as

13   to those matters, I believe them to be true.
14
               I declare under penalty of perjury under the laws of the state of California the foregoing
15
     is true and correct.
16
          Date:
17
                                                                    John R. Scholz, Ill, Declarant Plaintiff
18

19                I,Kevin E. Bybee,declare I am an individual plaintiff in this action. I declare I have read
20   the foregoing complaint and know its contents. I declare the complaint is true of my own
21
     knowledge,except as to those matters which are therein stated on information and belief, and,as
22
     to those matters, I believe them to be true.
23

24                I declare under penalty of perjury under the laws ofthe state of California the foregoing

25   is true and correct.
26        Date:
27                                                                   Kevin E. Bybee,         rant Plaintiff

28

                                                         18

                                         CLASS ACTION VERIFIED COMPLAINT
                      Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 30 of 45
                                                                                                                                                          POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                    FOR COURT USE ONLY
 Jane C Mariani SBN 313666
 Jane C Mariani
          TELEPHONE NO: 415-203-2453                         FAX NO (Optional):
 E-MAIL ADDRESS (Optional):
      ATTORNEY FOR (Name): Plaintiff

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF         San Mateo                                                                  11/15/2021
  STREET ADDRESS: 400 County Center
 MAILING ADDRESS:
 CITY AND ZIP CODE: Redwood City, 94063
     BRANCH NAME: Southern Branch

      PLAINTIFF / PETITIONER: John R Scholz III, Kevin E Bybee                                               CASE NUMBER:
 DEFENDANT / RESPONDENT: United Airlines INC                                                                 21-CIV-06029
                                                                                                             Ref. No. or File No.:
                                  PROOF OF SERVICE OF SUMMONS                                                6343307 (2021-1674)
                                                (Separate proof of service is required for each party served.)
1.   At the time of service I was at least 18 years of age and not a party to this action.
2.   I served copies of:
     a.    X    summons
     b.   X     complaint
     c.   X     Alternative Dispute Resolution (ADR) package
     d.   X     Civil Case Cover Sheet (served in complex cases only)
     e.         cross-complaint
     f.         other (specify documents):
3.   a.   Party served (specify name of party as shown on documents served):
          United Airlines INC
     b.    X     Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item 5b on
                 whom substituted service was made) (specify name and relationship to the party named in item 3a):
                 United Airlines INC C/O Jessie gastelum - CT Corp Registered agent
4.   Address where the party was served:
     330 N Brand Blvd STE 700, Glendale, CA 91203
5.   I served the party (check proper box)
     a.    X     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                 receive service of process for the party (1) on (date): Wed, Nov 10 2021                    (2) at (time): 12:31 PM
     b.          by substituted service. On (date):                                  at (time):                                 I left the documents listed in
                 item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                (1)           (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to
                              be served. I informed him or her of the general nature of the papers.
                (2)           (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of
                              the party. I informed him or her of the general nature of the papers.
                (3)           (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the
                              person to be served, other than a United States Postal Service post office box. I informed him or her of the general nature
                              of the papers.
                (4)           I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                              where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on (date):
                              from (city):                                                                    or      a declaration of mailing is attached.
                (5)           I attach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                PROOF OF SERVICE OF SUMMONS                                                                 Page 1 of 2
Judicial Council of California                                                                                                       Code of Civil Procedure, § 417.10
POS-010 [Rev. January 1, 2007]
                           Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 31 of 45
       PLAINTIFF / PETITIONER: John R Scholz III, Kevin E Bybee                                                      CASE NUMBER:
 DEFENDANT / RESPONDENT: United Airlines INC                                                                         21-CIV-06029

5.    c.              by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item
                      4, by first-class mail, postage prepaid,
                      (1) on (date):                                              (2) from (city):
                      (3)           with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                    completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                      (4)           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
      d.              by other means (specify means of service and authorizing code section):

                      Additional page describing service is attached.
6.    The "Notice to the Person Served" (on the summons) was completed as follows:
      a.        as an individual defendant.
      b.              as the person sued under the fictitious name of (specify):
      c.              as occupant.
      d.     X        On behalf of (specify): United Airlines INC
                      under the following Code of Civil Procedure section:
                            416.10 (corporation)                                              X     415.95 (business organization, form unknown)
                                 416.20 (defunct corporation)                                       416.60 (minor)
                                 416.30 (joint stock company/association)                           416.70 (ward or conservatee)
                                 416.40 (association or partnership)                                416.90 (authorized person)
                                 416.50 (public entity)                                             415.46 (occupant)
                                 other:
7.    Person who served papers
      a. Name:                      Sterling Holt
      b. Address:                   254 N lake Ave Suite 124, PASADENA, CA 91101
      c. Telephone number:          626-385-8662
      d. The fee for service was: $49.95
      e. I am:
          (1)        not a registered California process server.
            (2)      X     exempt from registration under Business and Professions Code section 22350(b).
            (3)            a registered California process server:
                           (i)            owner           employee     X   independent contractor
                           (ii) Registration No: PI 188865
                           (iii) County: Los Angeles
8.      X         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                  or
9.                I am a California sheriff or marshal and I certify that the foregoing is true and correct.




Date:       11/12/2021
Sterling Holt
     (NAME OF PERSON WHO SERVED PAPERS / SHERIFF OR MARSHAL)                                                             (SIGNATURE)




POS-010 [Rev. January 1, 2007]                                         PROOF OF SERVICE OF SUMMONS                                                 Page 2 of 2
      Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 32 of 45

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    12/07/2021
                                                                                                    CT Log Number 540702448
TO:         Maria Bustamante, Paralegal-Litigation
            United Airlines, Inc.
            609 MAIN STREET, 16TH FLOOR/HSCPZ
            HOUSTON, TX 77002-3167

RE:         Process Served in California

FOR:        United Airlines, Inc. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: JOHN R. SCHOLZ, III, an individual, and KEVIN E. BYBEE, an individual, on behalf
                                                  of themselves and others similarly situated // To: United Airlines, Inc.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 21CIV06029
NATURE OF ACTION:                                 Employee Litigation
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
DATE AND HOUR OF SERVICE:                         By Process Server on 12/07/2021 at 02:58
JURISDICTION SERVED :                             California
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 12/08/2021, Expected Purge Date:
                                                  12/13/2021

                                                  Image SOP

                                                  Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                                  Email Notification, Maria Bustamante maria.bustamante@united.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  330 N BRAND BLVD
                                                  STE 700
                                                  GLENDALE, CA 91203
                                                  866-331-2303
                                                  CentralTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 2 / PK
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                                                                       Service of Process
                                                                       Transmittal
                                                                       12/07/2021
                                                                       CT Log Number 540702448
TO:     Maria Bustamante, Paralegal-Litigation
        United Airlines, Inc.
        609 MAIN STREET, 16TH FLOOR/HSCPZ
        HOUSTON, TX 77002-3167

RE:     Process Served in California

FOR:    United Airlines, Inc. (Domestic State: DE)




DOCKET HISTORY:

        DOCUMENT(S) SERVED:       DATE AND HOUR OF SERVICE:            TO:                       CT LOG NUMBER:

        --                        By Process Server on 11/10/2021 at   Maria                     540566470
                                  01:29                                Bustamante, Paralegal-
                                                                       Litigation
                                                                       United Airlines, Inc.




                                                                       Page 2 of 2 / PK
                Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 34 of 45



                                                                 O.Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS




Date:                           Tue, Dec 7, 2021

Server Name:                    DROP SERVICE




Entity Served                   UNITED AIRLINES INC

Case Number                     21CIV06029

J urisdiction                   CA




  1 1 11111111111111111111111111111 11111111111111111111111111
                    Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 35 of 45
                               SUPERIOR COURT OF SAN MATEO COUNTY                             FOR COURT USE ONLY




  4,,S(re       •
                       400 County Center, lst
                                                Civil Division
                                              Floor, Room A Redwood City, CA 94063
                                              (650)261-5100
                                                                                                         FILED
                                        w ww.sanmateocourt.org
                                                                                                SAN MATEO COUNTY
                                                                                                            11/5/2021
PETITIONER/PLAINTIFF: JOHN R. SCHOLZ, Ill; KEVIN E. BYBEE
                                                                                                    Clerk of the Superior Court

RESPONDENT/DEFENDANT: UNITED AIRLINES, INC., A DELAWARE CORP.,; DOES                                    Is/ Anthony Berini
1 THROUGH 10,INCLUSIVE                                                                                    DEPUTY CLERK


        NOTICE OF ASSIGNMENT FOR ALL PURPOSES (CIVIL) AND                                     CASE NUMBER:
                                                                                               21-ClV-06029
    NOTICE OF CASE MANAGEMENT AND TRIAL SETTING CONFERENCE

By order of the Presiding Judge pursuant to San Mateo County Superior Court Local Rule 3.200(a) the above entitled
matter is assigned for all purposes to: V. Raymond Swope in Department 23.

            A Case Management and Trial Setting Conference is set before the Assigned Judicial Officer, as follows:
                                                    DATE: 3/11/2022
                                                         TIME: 2:00 PM
                                                 DEPARTMENT: Department 23
                            LOCATION: Hall of Justice, 400 County Center, Redwood City, CA 94063

APPEARANCES SHALL BE REMOTE ONLY. Please visit our website at for information on remote appearances:
https://www.sanmateocourtorg/general info/remote appearance.php
                                   *Any previously set Trial Setting Conference dates are vacated
ASSIGNED DEPARTMENT INFORMATION

Contact information for your assigned department is as follows:

     Judicial Officer                      Department Phone                     Department E-mail
     V. Raymond Swope                      650-261-5123                         Dept23@sanmateocourtorg

CASE MANAGEMENT CONFERENCE INFORMATION

You are hereby given notice of your Case Management Conference. The date, time and department are noted
above.

1. In accordance with applicable California Rules of the Court and Local Rules, you are hereby ordered to:
    a) Serve all named defendants and file proofs of service on those defendants with thc court within 60-days of
       filing the complaint(CRC 3.110(b); Local Rule 3.804).
    b) Serve a copy of this Notice, blank form of the Case Management Statement and ADR Information Package on
       all named parties in this action (Local Rule 3.804(a)). Documents are available online under the CIVIL CMC
       Packet section at: http://sanmateocourt.org/court divisions/civil/
    c) File and serve a completed Case Management Statement at least 15 days before the Case Management
       Conference (CRC 3.725; Local Rule 3.805(c)). Failure to do so may result in monetary sanctions or the
       continuance of the CMC.
    d) Meet and confer, in person or by telephone, to consider each of the issues identified in CRC 3.724 no later
       than 30 days before the date set for the Case Management Conference (Local Rule 3.805(b)).

2. Parties may proceed to an Appropriate Dispute Resolution process("ADR") by filing a Stipulation and Order to
   ADR (Local Form ADR-CV-1). File and serve the completed Stipulation and Order to ADR form at least 12 days

                                                                                                               Rev. November 2020
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     prior to the Case Management Conference (Local Rule 3.805(1)). You may find this form and information
     regarding the Civil ADR Program online at http://sanmateocourt.org/court divisions/adr/civil/

 3. Pursuant to Rule 3.1385, California Rules of Court, you must advise the court of any change of status, or
    settlement of this case.

 For additional information, you may visit the Judicial officer's webpage at: www.sanmateocourt.oraciviliudges



                                               CLERK'S CERTIFICATE OF SERVICE
I hereby certify that I am the clerk of this Court, not a party to this cause; that I served a copy of this notice on the below date,
0by hand0by electronic service to the parties or their counsel of record at the email addresses set forth below and shown by
the records of this Court or El by placing a copy thereof in separate sealed envelopes addressed to the address shown by the
records of this Court, and by then sealing said envelopes and depositing same, with postage fully pre-paid thereon, in the United
States Mail at Redwood City, California.

Date: 11/5/2021
                                                               Neal I Taniguchi, Court Executive Officer/Clerk
                                                        By: /s/ Anthony Berini
                                                             Anthony Berini, Deputy Clerk

Notice being served on:

    JANE C MARANI
    LAW OFFICE OF JANE C MARANI
    584 CASTRO STREET # 687
    SAN FRANCISCO CA 94114




                                                                                                                Rev. November 2020
                       Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 37 of 45
                                                                                                                                             CM-110
 ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):
                                                                                                                    FOR COURT USE ONLY




           TELEPHONE NO.:                                     FAX NO.(Optional):
           E-MAIL ADDRESS:
    ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 STREET ADDRESS:
 MAILING ADDRESS:
 CITY AND ZIP CODE:
     BRANCH NAME:

     PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:

                             CASE MANAGEMENT STATEMENT                                               CASE NUMBER:

(Check one): -
             I 1 UNLIMITED CASE                           -
                                                          I 1 LIMITED CASE
                (Amount demanded                              (Amount demanded is $25,000
                 exceeds $25,000)                             or less)

 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date:                                         Time:                        Dept.:           Div.:                        Room:
 Address of court (if different from the address above):

          Notice of Intent to Appear by Telephone, by (name):
             INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
   a.       This statement is submitted by party (name):
     b. -
        1 7 This statement is submitted jointly by parties (names):
2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
    a. The complaint was filed on (date):
   b. Ei The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a. -
      I   1 All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
     b.   r--1   The following parties named in the complaint or cross-complaint
                 (1)             have not been served (specify names and explain why not):


                 (2) I—I have been served but have not appeared and have not been dismissed (specify names):


                 (3)             have had a default entered against them (specify names):

    c.           The following additional parties may be added (specify names, nature of involvement in case, and date by which
                 they may be served):




4. Description of case
   a. Type of case in                  complaint          -
                                                          1 1 cross-complaint        (Describe, including causes of action):



                                                                                                                                              Page 1 of 5

Form Adopted for Mandatory Use                                                                                                      ' Cal. Rules of Court,
Judicial Council of California
                                                     CASE MANAGEMENT STATEMENT                                                          rules 3.720-3.730
CM-110[Rev. September 1,2021]                                                                                                          www.courfs.ca.gov
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                                                                                                                                     CM-110
    PLAINTIFF/PETITIONER:                                                                      CASE NUMBER:

 DEFENDANT/RESPONDENT:

4. b. Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date findicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)




        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
                               I 1 a jury trial
   The party or parties request-                         a nonjury trial. (If more than one party, provide the name of each party
   requesting a jury trial):


6. Trial date
    a. I—I The trial has been set for (date):
    b.     No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
           not, explain):


    C. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):



7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a.       days (specify number):
    b. 1 i hours (short causes)(specify):

8. Trial representation (to be answered for each party)
   The party or parties will be represented at trial El by the attorney or party listed in the caption              by the following:
   a. Attorney:
   b. Firm:
    c. Address:
    d. Telephone number:                                                    f. Fax number:
    e. E-mail address:                                                      g. Party represented:
  -I 1 Additional representation is described in Attachment 8.
9. Preference
   I—I This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
       the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.
      (1) For parties represented by counsel: Counsel F-1 has                    has not provided the ADR information package identified
          in rule 3.221 to the client and reviewed ADR options with the client.
      (2) For self-represented parties: Party FT has -       I    1 has not reviewed the ADR information package identified in rule 3.221.
    b. Referral to judicial arbitration or civil action mediation (if available).
       (1)En This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                 mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                 statutory limit.
       (2)1—I Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                 Civil Procedure section 1141.11.
       (3)       This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                 mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):

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                                                 CASE MANAGEMENT STATEMENT
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    PLAINTIFF/PETITIONER:                                                                          CASE NUMBER:

 DEFENDANT/RESPONDENT:

10. C. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information):




                                The party or parties completing     If the party or parties completing this form in the case have agreed to
                                this form are willing to            participate in or have already completed an ADR process or processes,
                                participate in the following ADR    indicate the status of the processes (attach a copy of the parties'ADR
                                processes (check all that apply):   stipulation):
                                                                           Mediation session not yet scheduled
                                                                           Mediation session scheduled for (date):
   (1) Mediation
                                                                           Agreed to complete mediation by(date):
                                                                           Mediation completed on (date):

                                                                           Settlement conference not yet scheduled
   (2)Settlement                                                          Settlement conference scheduled for(date):
      conference                                                           Agreed to complete settlement conference by(date):
                                                                           Settlement conference completed on(date):

                                                                           Neutral evaluation not yet scheduled
                                                                           Neutral evaluation scheduled for (date):
  (3) Neutral evaluation
                                                                           Agreed to complete neutral evaluation by (date):
                                                                           Neutral evaluation completed on (date):

                         .                                                 Judicial arbitration not yet scheduled
 (4) Nonbinding judicial                                                   Judicial arbitration scheduled for (date):
       arbitration                                                         Agreed to complete judicial arbitration by (date):
   _                .
                                                                           Judicial arbitration completed on (date):

                                                                     EEl Private arbitration not yet scheduled
   (5) Binding private                                                     Private arbitration scheduled for (date):
      arbitration                                                          Agreed to complete private arbitration by (date):
                                                                           Private arbitration completed on (date):

                                                                           ADR session not yet scheduled
                                                                           ADR session scheduled for (date):
   (6)Other (specify):
                                                                           Agreed to complete ADR session by (date):
                                                                     EEl ADR completed on (date):




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                                                    CASE MANAGEMENT STATEMENT
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                                                                                                                                          CM-110
          PLAINTIFF/PETITIONER:                                                                         CASE NUMBER:

     DEFENDANT/RESPONDENT:

    1 1. Insurance
        a.           Insurance carrier, if any, for party filing this statement (name):
        b. Reservation of rights: I—I Yes           -
                                                    1 1 No
        C.           Coverage issues will significantly affect resolution of this case (explain):




    12. Jurisdiction
        Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
        FT               I 7 Other (specify):
              Bankruptcy -
        Status:

    13. Related cases, consolidation, and coordination
        a.       There are companion, underlying, or related cases.
                    (1) Name of case:
                    (2) Name of court:
                    (3) Case number:
                    (4) Status:      '
             E ] Additional cases are described in Attachment 13a.
        b. I—I A motion to               I—I consolidate                 coordinate       will be filed by (name party):

    14. Bifurcation
        FT      The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
                action (specify moving party, type of motion, and reasons):




    15. Other motions

.               The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):




    16. Discovery
        a.           The party or parties have completed all discovery.
        b.           The following discovery will be completed by the date specified (describe all anticipated discovery):
                  Party                                    Description                                                           Date




        C.          The following discovery issues, induding issues regarding the discovery of electronically stored information, are
                    anticipated (specify):




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                                                        CASE MANAGEMENT STATEMENT
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                                                                                                                                  CM-110
    PLAINTIFF/PETITIONER:                                                                     CASE NUMBER:

 DEFENDANT/RESPONDENT:

17. Economic litigation
    a.          This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
                of Civil Procedure sections 90-98 will apply to this case.
    b. rn This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
          discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
          should not apply to this case):




18. Other issues
    I—I The party or parties request that the following additional matters be considered or determined at the case management
        conference (specify):




19. Meet and confer
    a. E J The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
           of Court (if not, explain):




    b.   -
         1 7 After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
               (specify):




20. Total number of pages attached (if any):
I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.

Date:


                          (TYPE OR PRINT NAME)                                               (SIGNATURE OF PARTY OR ATTORNEY)




                          (TYPE OR PRINT NAME)                                               (SIGNATURE OF PARTY OR ATTORNEY)


                                                                            E ] Additional signatures are attached.



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                                                 CASE MANAGEMENT STATEMENT

For your protection and privacy, please press the Clear
This Form button after you have printed the form.                                  ova:thi§lfornui
         Case 4:21-cv-09561-YGR Document 1-1 Filed 12/10/21 Page 42 of 45                                  Print Form

                      SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN MATEO
                                 MULTI OPTION ADR PROJECT
                                        HALL OF JUSTICE AND RECORDS
                                            100 COUNTY CENTER
                                       REDWOOD CITY, CALIFORNIA 91068


                         ADR Stipulation and Evaluation Instructions
In accordance with Local Rule 3.904(b), all parties going to ADR must complete a Stipulation and Order
to ADR and file it with the Clerk of the Superior Court. In accordance with Local Rule 2.1.7, all parties,
except for self-represented litigants, are required to file the Stipulation and Order to ADR electronically.

There is no filing fee for filing the stipulation. An incomplete stipulation will be returned to the parties by
the Clerk's Office. All stipulations must include the following:
                  0    Signatures for all attorneys (and/or parties in pro per);
                  0    The name and phone number of the neutral;
                  0    Date of the ADR session (date must include month, day and year. TBD or tentative
                       responses will not be accepted); and
                  0    Service List(Counsel need not serve the stipulation on parties).

Parties mutually agree on a neutral and schedule ADR sessions directly with the neutral. If parties would
like a copy ofthe Court's Civil ADR Program Panelist List and information sheets on individual panelists,
they may visit the Court's website at www.sanmateocourt.oreadr.

If Filing the Stipulation Prior to an Initial Case Management Conference
To stipulate to ADR prior to the initial Case Management Conference(CMC),parties must file a completed
stipulation at least 12 days before the scheduled Case Management Conference. The clerk will vacate the
Case Management Conference, and the general civil action will be referred to the ADR Analyst [Local
Rule 3.805(1)].

jf Filing Stipulation Following a Case Management Conference or Following an Order to Vacate Case
Management Conference and Order to ADR
When parties are referred to ADR at the CMC, or parties receive an Order Vacating Case Management
Conference and Order to ADR, they have 21 days from the date of the CMC or Order to file a Stipulation
and Order to ADR with the Court[Local Rule 3.904(b)].

 post-ADR Session
Submit post-ADR session evaluations within 10 days of completion of the ADR process. Evaluations are
to be filled out by both attorneys and clients. A copy of the Evaluation by Attorneys and Client Evaluation
will be mailed by the ADR department as the mediation session date approaches, or can be downloaded
from the Court's web site [Local Rule 3.905(c)].

 If not all disputes are resolved through the ADR session, file a Statement of Nonagreement(ADR-CV-11)
 with the Court to facilitate the setting of a post-ADR Case Management and Trial Setting Conference before
 the assigned Civil Judge [Local Rule 3.905(b)].

 Non-Binding Judicial Arbitration
 Names and dates are not needed for stipulations to judicial arbitration. The Judicial Arbitration
 Administrator will send a list of names to parties once a stipulation has been submitted.

 For further information regarding San Mateo Superior Court's Civil ADR and Judicial Arbitration
 Programs, visit the Court's website at www.sanmateocourt.org/adr or contact the ADR offices at
(650)261-5075.



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 Attorney or Party without Attorney(Name, Address, Telephone, Fax,                     Court Use Only
 State Bar membership number):



 SUPERIOR COURT OF CALIFORNIA,COUNTY OF SAN MATEO
 Hall ofJustice and Records
 400 County Center
 Redwood City, CA 94063-1655 (650)261-5100
 Plaintiff(s):                                                                         Case number:



 Defendant(s):                                                                         Current CMC Date:




         STIPULATION AND ORDER TO APPROPRIATE DISPUTE RESOLUTION

Plaintiff will file this stipulation with the Clerk's Office 10 days prior to or 3 weeks following the first
Case Management Conference or Order to ADR unless directed otherwise by the Court and ADR
Department [Local Rule 3.904(b)]. Please attach a Service List.

 The parties hereby stipulate that all claims in this action shall be submitted to (select one):
                                                                 Binding Arbitration(private)

 §
     Voluntary Mediation
     Neutral Evaluation                                          Settlement Conference(private)
     Non-Binding Judicial Arbitration CCP 1141.12 Summary Jury Trial 0Other:

 Case Type:
Neutral's name and telephone number:                                                      Date ofsession:
(Required for continuance of CMC except for non-binding judicial arbitration)
Identify by name the parties to attend ADR session:

                                                                               Original Signatures


  Type or print name of 0Party without attorney 0Attorney for                                  (Signature)
  ▪Plaintiff/Pctitioncr 0 Defendant/Respondent/Contestant               Attorney or Party without attorney



   Type or print name of 0Party without attorney 0 Attorney for                                (Signature)
      Plaintiff/Petitioner 0 Defendant/Respondent/Contestant            Attorney or Party without attorney



   Type or print name of 0 Party without attorney 0 Attorney for                               (Signature)
   O Plaintiff/Petitioner 0 Defendant/Respondent/Contestant             Attorney or Party without attorney



   ape or print name of 0Party without attorney 0 Attorney for                                 (Signature)
   U Plaintiff/Petitioner 0 Defendant/Respondent/Contestant             Attorney or Party without attorney


IT IS SO ORDERED:
Date:                                                        Judicial Officer of the Superior Court of San Mateo County


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             APPROPRIATE DISPUTE RESOLUTION INFORMATION SHEET

              SUPERIOR COURT OF CALIFORNIA, SAN MATEO COUNTY

In addition to the court provided voluntary and mandatory settlement conferences, this
court has established, in partnership with the community and Bar Association, the Multi-
Option ADR Project. Recognizing that many civil disputes can be resolved without the
time and expense of traditional civil litigation, the San Mateo County Superior Court
encourages the parties in civil cases to explore and pursue the use of Appropriate
Dispute Resolution
WHAT IS APPROPRIATE DISPUTE RESOLUTION?

Appropriate Dispute Resolution (ADR) is the general term applied to a wide variety of
dispute resolution processes which are alternatives to lawsuits. Types of ADR
processes include arbitration, mediation, neutral evaluation, mini-trials, settlement
conferences, private judging, negotiation, and hybrids of these processes. All ADR
processes offer a partial or complete alternative to traditional court litigation for resolving
disputes.

WHAT ARE THE ADVANTAGES OF USING ADR?
ADR can have a number of advantages over traditional court litigation.

• ADR can save time. Even in a complex case, a dispute can be resolved through
  ADR in a matter of months or weeks, while a lawsuit can take years.

• ADR can save money. By producing earlier settlements, ADR can save parties and
  courts money that might otherwise be spent on litigation costs (attorney's fees and
  court expenses).
• ADR provides more participation. Parties have more opportunity with ADR to
  express their own interests and concerns, while litigation focuses exclusively on the
  parties' legal rights and responsibilities.

• ADR provides more control and flexibility. Parties can choose the ADR process
  most appropriate for their particular situation and that will best serve their particular
  needs.

• ADR can reduce stress and provide greater satisfaction. ADR encourages
  cooperation and communication, while discouraging the adversarial atmosphere
  found in litigation. Surveys of disputants who have gone through ADR have found
  that satisfaction with ADR is generally high, especially among those with extensive
  ADR experience.
Arbitration, Mediation, and Neutral Evaluation
Although there are many different types of ADR processes, the forms most commonly
used to resolve disputes in California State courts are Arbitration, Mediation and Neutral
Evaluation. The Multi-Option ADR Project a partnership of the Court, Bar and
Community offers pre-screened panelists with specialized experience and training in
each of these areas.
Arbitration: An arbitrator hears evidence presented by the parties, makes legal rulings,
determines facts and makes an arbitration award. Arbitration awards may be entered as

Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8"[Rev. Feb. 2014]
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judgments in accordance with the agreement of the parties or, where there is no
agreement, in accordance with California statutes. Arbitrations can be binding or non-
binding, as agreed by the parties in writing.
Mediation: Mediation is a voluntary, informal, confidential process in which the
mediator, a neutral third party, facilitates settlement negotiations. The mediator
improves communication by and among the parties, helps parties clarify facts, identify
legal issues, explore options and arrive at a mutually acceptable resolution of the
dispute.
Neutral Evaluation: Involves presentations to a neutral third party with subject matter
expertise who may render an opinion about the case the strengths and weaknesses of
the positions, the potential verdict regarding liability, and a possible range for damages.
CIVIL ADR PROCEDURES FOR THE SAN MATEO COUNTY SUPERIOR COURT

   • Upon filing a Complaint, the Plaintiff will receive this information sheet from the
     Superior Court Clerk. Plaintiff is expected to include this information sheet when
     he or she serves the Complaint on the Defendant.

   • All parties to the dispute may voluntarily agree to take the matter to an ADR
     process. A stipulation is provided here. Parties chose and contact their own ADR
     provider. A Panelist List is available online.

   • If the parties have not agreed to use an ADR process, an initial Case
     Management Conference ("CMC") will be scheduled within 120 days of the filing
     of the Complaint. An original and copy of the Case Management Conference
     Statement must be completed and provided to the court clerk no later than
     15 days prior to the scheduled conference. The San Mateo County Superior
     Court Case Management Judges will strongly encourage all parties and their
     counsel to consider and utilize ADR procedures and/or to meet with the ADR
     director and staff where appropriate.

   • If the parties voluntarily agree to ADR, the parties will be required to sign and file
     a Stipulation and Order to ADR.

   • A timely filing of a stipulation (at least 10 days prior to the CMC) will cause a
     notice to vacate the CMC. ADR stipulated cases (other than judicial arbitration)
     will be continued for further ADR/Case Management status review in 90 days. If
     the case is resolved through ADR, the status review date may be vacated if the
     court receives a dismissal or judgment. The court may upon review of case
     information suggest to parties an ADR referral to discuss matters related to case
     management, discovery and ADR.

   • Any ADR Services shall be paid for by the parties pursuant to a separate ADR
     fee agreement. The ADR Director may screen appropriate cases for financial aid
     where a party is indigent.
   • Local Court Rules require your cooperation in evaluating the ADR Project and
     will expect a brief evaluation form to be completed and submitted within 10 days
     of completion of the process.

You can find ADR forms on the ADR webpage: www.sanmateocourtoro/adr. For more
information contact the Multi-Option ADR Project at(650) 261-5075 or 261-5076.


Form ADR-CV-8 "Court ADR Information Sheet ADR-CV-8"[Rev. Feb. 2014]
